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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 CATHOLIC LEGAL IMMIGRATION
 NETWORK INC., et al.,

 Plaintiffs,

 v.
                                                           Civil Action No. 21-0094-RJL
 EXECUTIVE OFFICE FOR
 IMMIGRATION REVIEW, et al.,

 Defendants.




                       DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                            NOTICE OF RELATED CASE

        Defendants do not oppose relating the instant matter with Centro Legal de la Raza v. Exec.

Office for Immigration Review, No. 21-cv-463 (N.D. Cal. filed Jan. 19, 2021), because the cases

challenge the same Rule, raise similar legal challenges to the Rule, and involve nearly identical

amicus filings. Defendants believe that if the cases are related, under the Local Rules of both this

Court and the Northern District of California they should be related before this Court, as this action

was the first filed. See D.D.C. Local Rule 40.5(c)(2) (“If the Calendar and Case Management

Committee finds that good cause exists for the transfer, it shall assign the case to the judge having

the earlier case.”); N.D. Cal. Local Rule 3-12(f) (“If any Judge decides that any of the cases are

related, pursuant to the Assignment Plan, the Clerk shall reassign all related higher-numbered cases

to that Judge and shall notify the parties and the affected Judges accordingly.”). In response to an

order issued in Centro Legal, on February 23, 2021, Defendants filed a Notice of Pendency of
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Other Action or Proceeding in that case informing the court of the pendency of the instant earlier-

filed case. See Exhibit A.

                                             Respectfully submitted,

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Dated: March 3, 2021                         Attorneys for Defendants




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